       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 1 of 20



Annex 11WX-2018-39

                                                   Pledge contracts
                                   (applicable to pledges under bank guarantees).

                                                                                      Number: 2018 ______________

Pledgee: China Merchants Bank Co., Ltd. Beijing Industrial Branch (hereinafter referred to as Party A).
Negative nobleman: Huang Meng
Pledgee: NetQin Infinity (Beijing) Technology Co., Ltd. (hereinafter referred to as Party B).
Legal representative / main nobleman: Xu Zemin
or
Hostage:
ID number:



Application of
1. ____ Yiwan (also the principal at the same time), and Party B on May 28, 2018
A Guarantee Agreement numbered                    0008 (hereinafter referred to as the "Guarantee Agreement") has
been signed. or
2. Party A applies and entrusts in accordance with (hereinafter referred to as "Principal"
          ).
On the date of the year                        , the person entered into a "security agreement" numbered
"Guarantee" (hereinafter referred to as "Undertaking Guarantee Agreement").
Party A hereby agrees to benefit China Merchants Bank Luxembourg Branch (i.e., "Merchants Bank Luxembourg
Branch" in respect of the financing guarantee) issued a letter of guarantee/standby letter of credit numbered
            0008 (hereinafter referred to as "letter of guarantee") ), in US dollars (handwritten characters) Assume
the responsibility of guarantee within the yuan limit.
 In order to ensure that Party B (or the principal) repays the amount owed to Party A under the "Guarantee
Agreement" in full and on time For all debts, Party B is willing to use as collateral the property or rights it owns or
has the right to dispose of according to law; After Party A's review Check and agree that Party B shall use the
property or rights it owns or has the right to dispose of according to law as collateral; Parties A and B shall have in
accordance with them This contract is hereby concluded by law and after equal consultation, and agreement on
the following terms:
Article 1 Pledge used by Party B
1.1 Name: Time Deposit Certificate of Deposit (Structured Deposit).




                                                EXHIBIT E
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 2 of 20



1. 2 Quantity: One

1. 3 Price value and discount rate: Ren Zao Zuo Ling" Ji Dong F initial order _____ 95%.

1. 4 Term: 358__

1. 5 Proof of ownership: Owned

1. 6 Certificate of Ownership Number:          4326

2 Scope of pledge security

The scope of the guarantee of this contract is the payment that Party B (or the principal) shall pay Party A
according to the Guarantee Agreement Cut items, including but not limited to Party A's responsibility for payment
under the "Letter of Guarantee" and Party B (or the principal) to Party B

The principal amount of the advance, interest, penalty interest, compound interest, liquidated damages, costs of
realizing the pledge paid by the beneficiary and Party B (or Principal) the guarantee fee and other related expenses
payable to Party A in accordance with the Guarantee Agreement.

Article 3 Independence of this Contract

This pledge is independent and is not affected by the validity of the Security Agreement or by the trio

The impact of the letter of guarantee issued by Party B (or the principal) and any agreement and document signed
with any unit Not due to Party B's (or the principal's) fraud, reorganization, acquisition, business closure, Fu
education, liquidation, bankruptcy, etc

Any change due to such changes shall not be due to Party A giving Party B (or the principal) any grace to ask for
questions and postponement or delay in the exercise of the recovery of the amount owed by Party B (or the
principal) under the relevant agreement in any way.

Even if Party A's claims are also credited, pledged, secured or guarantor, Party A waives the mortgage right

Waiver, change or release other mortgage or pledge guarantees, change or release the guarantor guarantee of
your appointment, or Party A's election

Party B is required to assume the pledge guarantee with the pledge, and Party B still complies with the provisions
of this pledge contract

Party A shall bear the responsibility of pledge guarantee.

Article 4 Party B fully accepts and acknowledges the content of the letter of guarantee issued by Party A to the
beneficiary, and agrees to Party A the relevant regulations and international practice to handle all matters under
the letter of guarantee; During the validity period of the letter of guarantee, Party A and the principal or
The supplementary agreement reached between the beneficiaries on the extension of the term of the letter of
guarantee or any other matter shall not affect Party B's

Party B will recognize the pledge and guarantee your responsibility, and Party A may not need to notify Party B.

Article 5 Transfer and Delivery/Registration of Pledge:

5.1 If the material under this contract is movable property, Party B shall hand over the material to A on the date of
signing this contract

Party possession.
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 3 of 20



If the material is deposited with a third party other than Party B, Party B shall send it to such third party on the
date of this contract

When the "Pledge Notice" is issued, the pledge shall be deemed to be transferred to Party A's possession when it
reaches the third party from the "Pledge Notice".

If Party B provides pledge for the business under this Agreement with the guarantee money, Party B shall provide
Party A with Party A at the request of Party A
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 4 of 20



The account opened (the margin account number is subject to the account number automatically generated by
Party A's system when the margin is deposited) is deposited into the contract

The act of specifying the funds in the form of guarantee money and transferring it to Party A's possession is
regarded as B

A security for the obligations of the party (or debtor) under the Guarantee Agreement.

5.2 If the material under this contract is a right, Party B shall deliver the certificate of right on the date of signing
this contract

To Party A.

5.3 If the pledge under this contract can be established by registering the pledge according to law, Party B shall be
in Party A

During the required period, cooperate with Party A to hold this contract and relevant materials to the
corresponding registration management agency for pledge

Remember.

5.4 Party B shall, in accordance with the principle of good faith, actively cooperate with Party A in handling
relevant hands in accordance with the aforementioned provisions

Continued, Party B fails to hand over or deliver the pledge/right certificate in a timely manner or complete the
pledge registration procedures in accordance with the regulations

Party A shall be liable for compensation for the losses suffered by Party A as a result.

Article 6 Pledge Period Question

The pledge period is from the effective date of this contract to Party A and Party B under the Guarantee
Agreement and the Letter of Guarantee

(or the principal) advance principal and interest claims paid to the beneficiary and other claims under the Security
Agreement are litigated

The period of expiry of validity.

Article 7 Custody and Responsibility of Materials:

7.1 During the pledge period, Party A shall properly keep the pledge, and if the pledge is lost or damaged due to
improper storage

Party A shall bear civil liability;

7.2 If Party A may lose or damage the material due to its inability to properly keep it, Party B may require Party A

The party deposits the pledge, or requests early settlement of the debt and returns the pledge.

Article 8 Insurance Insurance

Party B shall accept the pledge to Party A with Party A as the primary beneficiary at the request of Party A

The insurance company handles sufficient property insurance and hands over the insurance certificate to Party A
for safekeeping; The insurance period should be longer than the Letter of Guarantee
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 5 of 20



the date of expiry of the validity period; In the event of a loss of the insured property, Party A has the right to
recover the advance from the insurance compensation in priority

the patient and all other related expenses; Or deposit the insurance compensation into the guarantee fund
account (the margin account number is Party B

The account number of the margin account actually opened by Party A, or automatically generated by Party A's
system when the margin is deposited

account number, the same below), in case Party A undertakes the payment under the "Letter of Guarantee", and
receives the compensation

Compensation.

If Party B does not go through the procedures for applying for pledge, Party A has the right to directly handle it on
behalf of Party B.

Article 9 Collection of Interest
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 6 of 20



Party A has the right to receive the interest arising from the pledge, and this interest income shall be used in
advance to cover the cost of the interest.

Article 10 Assumption of Costs

This contract involves notarization (except for mandatory notarization) or other matters entrusted to a third party
to provide services

The relevant costs shall be borne by the principal. If both parties are jointly principals, each party will bear 50%.

Article 11 During the validity period of this contract, there is a possibility that the material may be damaged or
significantly reduced in value, which harms A

Party A may require Party B to provide corresponding guarantees: if Party B does not provide it, Party A has the
right to deal with it in advance

Fractions.

Article 12 During the validity period of this contract, if Party B is separated or merged, the changed organization
shall bear it

or separately assume obligations under this contract; If Party B is declared dissolved or bankrupt, Party A has the
right to dispose of the pledge in advance.

Article 13 The pledges under this contract are evidence of rights (including but not limited to bills, bonds,
certificates of deposit, warehouses

Bills of lading, etc.), if the maturity date of the certificate of rights is earlier than the maturity date of the debt
under the "Guarantee Agreement", Party A

It has the right to cash in or withdraw the goods for cashing out when the certificate of rights expires, and deposit
the recovered amount in full into Party B in Party A

For the guarantee account opened by the party, such funds shall be deemed to be specific and transferred to Party
A from the date of entering the guarantee account

Possession, which continues as pledge security for Party B's (or principal's) obligations under the Security
Agreement, or with B

Party B has no objection to the withdrawal of the goods under the certificate of rights and shall follow Party A's
requirements

Please cooperate in handling the relevant procedures.

If the pledge under this contract is a certificate of deposit, the deposit slip will continue to be used as a "guarantee
agreement" after it is automatically transferred during the pledge period

Changes in the number, amount or term of the deposit certificate resulting from the transfer of the pledge of the
pledge of the debt under the proposal

It does not affect the validity of the pledge.

If the material under this contract is a certificate of deposit or warehouse receipt, the maturity date of the deposit
certificate or warehouse receipt is later than that under the Security Agreement

On the maturity date of each specific business, Party A has the right to withdraw the relevant payment in advance
or auction/sell the relevant goods in advance
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 7 of 20



and pay off Party B's (or principal's) debts under the Guarantee Agreement in advance with the amount collected.

Article 14 Party A may dispose of the material according to law when one of the following circumstances occurs:

14.1 After Party A assumes the payment liability under the Letter of Guarantee, Party B or the principal fails to
comply with the Guarantee Agreement

If the deposit fund is paid in full or the balance of the deposit account is insufficient or the judicial authority takes
freezing or deduction measures, it will cause A

The principal and interest of the advance cannot be recovered in a timely manner;

14.2 Party B or the client's business premises are sealed or closed by judicial or administrative authorities; or
without justification

Suspension of business for more than 2 months, cancellation or revocation of business license;

14. 3 Party B or the principal is declared dissolved or the glass product is announced;

14 . 4 When Party B is a natural person, there is no heir or legatee in the event of death, or its succession
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 8 of 20



The person or the legatee renounces the inheritance or bequest and refuses to perform this contract;

14.5 The occurrence of the causes specified in Clauses 1 1 and 1 2 of this contract;

1 4.6 Other causes that jeopardize the performance of the Security Agreement.

Article 15 Realization of security rights

Party B or the principal shall have sufficient deposit or sufficient deposit in its deposit account in accordance with
the provisions of the Guarantee Agreement

The balance of the payment, so that Party A does not need to advance when it bears the payment responsibility
under the "Letter of Guarantee"; or after Party A advances Party B

or if the principal raises sufficient funds to pay off the principal and interest of Party A's advance and all other
related expenses, the pledge will be extinguished

Party A shall return the material.

In the event of any of the circumstances specified in Clauses 11, 1, 2 and 14 of this contract, Party A may negotiate
with Party B to provide pledge

Discount, or auction or sale of pledges to repay Party A's advance principal and interest and all other related
expenses, or deposit B

The guarantee money account opened by the Party with Party A for the purpose of paying the amount payable
under the Letter of Guarantee, and such funds are entered from the in

The date of the guarantee fund account is deemed to be specified and transferred to Party A's possession as a
pledge for the debt under the security agreement

Protect.

After the pledge is discounted or auctioned or sold, the price exceeds the principal and interest of Party A's
advance and all other related expenses

The part of the amount belongs to Party B; Party A will recover the deficiency separately.

Article 16 Variation and Dissolution of Contract

After this contract takes effect, neither party may change or terminate this contract without the consent of the
other party. Need

When changing or terminating the contract, it shall be agreed upon by both parties through negotiation, and a
written agreement shall be reached before the agreement is reached

The Terms remain in effect.

Article 17 Notice

Party A's and Party B's notices, requirements, etc. regarding this contract shall be sent in writing.

Party A's contact address is: No. 10, Xindong Road, Chaoyang District, Beijing

Party B's contact address is: Building 4, No. 11 Hepingli East Road, Dongcheng District, Beijing

If it is delivered by hand, the recipient shall sign for receipt and be deemed to have been delivered (if the recipient
refuses to accept it, it shall be deemed to have been delivered on the date of rejection);
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 9 of 20



If it is submitted by mail, it shall be deemed to have been delivered seven days after it is sent; If it is submitted by
fax, the recipient shall pass it on

The fax is deemed to have been delivered upon receipt by the true system.

Either party shall notify the other party of the change of contact address in a timely manner, otherwise it shall bear
the responsibility for the occurrence that may arise therefrom

Losses.
       Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 10 of 20



Section 18 Terms

Unless expressly stated otherwise, the terminology used in this contract is identical to that provided in the Security
Agreement

Meaning.

Section 19 shall not be deemed a waiver

During the pledge period, Party A shall exercise any leniency or leniency to any default or delay of the debtor and
Party B

Neither the limitation or delay of the enforcement of the Guarantee Agreement and the rights or rights of Party A
under this contract shall be impaired

Affect or limit all rights and interests that Party A shall enjoy as a creditor in accordance with relevant laws and
regulations

Nor shall it be deemed a waiver of your right to act with respect to existing or future breaches.

Article 20 Dispute Resolution

Disputes arising between Parties A and B in the performance of this contract shall be settled through negotiation
between the Parties; If the negotiation fails, double

The parties agree to settle the dispute in accordance with the dispute resolution method stipulated in the Security
Agreement.

Article 2] Entry into force of the pledge contract

This contract shall be affixed by the legal representative/main person in charge of both parties or their authorized
agent

Unit official seal/special contract chapter (if Party B is a natural person, this contract is designated as the
representative / main responsibility of Method A.)

The person or his/her authorized agent signs/seals and affixes the official seal/special seal of the contract and
Party B's signature).

Effective, to the principal, interest and all other related expenses advanced by Party A under the "Guarantee
Agreement" and "Letter of Guarantee"

Expires when the department is paid off.

Article 22 Other Supplements

22.1

22.2

22.3

Article 23 By-laws

This contract shall be executed in duplicate, one copy for both parties A and B. and one copy for each party
                  .
      Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 11 of 20



Special Tip:

l 、All the terms of this agreement have been fully negotiated by all parties. The Bank hereby refers to other
parties

Do not pay attention to the exemption or restriction of bank responsibilities, the unilateral rights of the bank, and
the increase of other parties

Clauses that allow or limit the rights of other parties and have a full and accurate understanding of them. Banks
should be other

The parties requested that the above clauses be explained accordingly. The parties to the contracting are fully
aware of the terms of this agreement

Unanimous.

2. The guarantor acknowledges that the bank handles various operations of specific business for the guaranteed
person, as well as the bank's involvement

Each operation of this guarantee text may be processed and generated, issued or issued by any branch within the
jurisdiction of the Bank

Customs letters, business operations and correspondence of branches within the jurisdiction of the bank are
regarded as bank acts, and have the effect on the bank and the guarantor

Binding.
      Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 12 of 20




First Party:

Primary responsible or authorized



If the pledge is a legal person, sign this column:

Party B:

Legal representative / main person in charge or granted



If the pledge is a natural person, sign this column:

Party B (signed).

ID number:



                                                       Date of signature: 2 May 2, 8/018
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 13 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 14 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 15 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 16 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 17 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 18 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 19 of 20
Case 1:18-cv-11642-VM-VF Document 388-5 Filed 01/18/23 Page 20 of 20
